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    Steven J. Reisman, Esq.
    Jerry L. Hall, Esq. (admitted pro hac vice)
    Cindi M. Giglio, Esq.
    KATTEN MUCHIN ROSENMAN LLP
    575 Madison Avenue
    New York, NY 10022
    Telephone: (212) 940-8800
    Facsimile: (212) 940-8876
    sreisman@kattenlaw.com
    jerry.hall@kattenlaw.com
    cindi.giglio@kattenlaw.com

    –and–

    Peter A. Siddiqui, Esq. (admitted pro hac vice)
    KATTEN MUCHIN ROSENMAN LLP
    525 W. Monroe Street
    Chicago, IL 60661
    Telephone: (312) 902-5455
    Facsimile: (312) 902-1061
    peter.siddiqui@kattenlaw.com


Counsel to Debtors and Debtors-in-Possession

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK


    In re                                                                Chapter 11

    SIZMEK INC., et al.,                                                 Case No. 19-10971 (SMB)

                     Debtors.1                                           (Jointly Administered)


                            SCHEDULE OF ASSETS AND LIABILITIES FOR
                                  WIRELESSDEVELOPER, INC.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
      Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106);
      and X Plus Two Solutions, LLC (4914). The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 401 Park Avenue South, Fifth Floor, New York, NY 10016.
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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK


    In re                                                                Chapter 11

    SIZMEK INC., et al.,                                                 Case No. 19-10971 (SMB)

                     Debtors.2                                           (Jointly Administered)


                     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS,
                      METHODOLOGY, AND DISCLAIMERS REGARDING
                        THE DEBTORS’ SCHEDULES OF ASSETS AND
                       LIABILITIES AND STATEMENTS OF FINANCIAL
                                        AFFAIRS


         Sizmek Inc. (“Sizmek”) and certain of its direct and indirect subsidiaries are debtors and
debtors in possession (collectively, the “Debtors”), are filing their respective Schedules of Assets
and Liabilities (each, a “Schedule,” and collectively, the “Schedules”) and Statements of Financial
Affairs (each, a “Statement” and collectively, the “Statements”) in the United States Bankruptcy
Court for the Southern District of New York (the “Bankruptcy Court”) pursuant to section 521
of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules
of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These Global Notes and Statements of Limitations, Methodology, and Disclaimer
Regarding the Debtors’ Schedules and Statements (collectively, the “Global Notes”) pertain to,
and are incorporated in, and constitute an integral part of the Schedules and Statements. The Global
Notes are in addition to the specific notes set forth below with respect to the Schedules and
Statements (the “Specific Notes,” and, together with the Global Notes, the “Notes”). These Notes
should be referred to, and referenced in connection with, any review of the Schedules and
Statements.

        The Debtors’ management prepared the Schedules and Statements with the assistance of
their advisors and other professionals. The Schedules and Statements are unaudited and subject to
adjustment. In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of preparation. The Debtors’
management team and advisors have made reasonable efforts to ensure that the Schedules and
Statements are as accurate and complete as possible under the circumstances; however, subsequent

2
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
      Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106);
      and X Plus Two Solutions, LLC (4914). The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 401 Park Avenue South, Fifth Floor, New York, NY 10016.
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information or discovery may result in material changes to the Schedules and Statements and errors
or omissions may exist. Notwithstanding any such discovery, new information, or errors or
omissions, the Debtors do not undertake any obligation or commitment to update the Schedules
and Statements.

                The Debtors reserve all rights to amend or supplement the Schedules and
Statements from time to time, in all respects, as may be necessary or appropriate, including the
right to dispute or otherwise assert offsets or defenses to any claim reflected on the Schedules
and Statements as to amount, liability, classification, identity of Debtor, or to otherwise
subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.” Furthermore,
nothing contained in the Schedules, Statements, or Notes shall constitute a waiver of any of the
Debtors’ rights or an admission of any issues, including issues with respect to their chapter 11
cases, involving objections to claims, substantive consolidation, equitable subordination,
defenses, characterization or re-characterization of contracts and leases, assumption or rejection
of contracts and leases under the provisions of chapter 3 of the Bankruptcy Code, causes of
action arising under the provisions of chapter 5 of the Bankruptcy Code, or any other applicable
state or federal laws.

               Sascha Wittler has signed the Schedules and Statements. Mr. Wittler is the Chief
Financial Officer of Sizmek and an authorized signatory for the Debtors. In reviewing and
signing the Schedules and Statements, Mr. Wittler necessarily has relied upon the efforts,
statements and representations of the Debtors’ advisors and various personnel employed by the
Debtors. Mr. Wittler has not (and could not have) personally verified the accuracy of each
statement and representation contained in the Schedules and Statements, including statements
and representations concerning amounts owed to creditors, classification of such amounts and
creditor addresses.
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                        Global Notes and Overview of Methodology

       The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of
any of the Debtors or their affiliates.

1.    Description of the Cases. On March 29, 2019, (the “Petition Date”), each of the
      Debtors commenced a voluntary case under chapter 11 of the Bankruptcy Code. The
      Debtors are authorized to operate their businesses and manage their properties as debtors
      in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On April 3,
      2019, the Bankruptcy Court entered an order authorizing the joint administration of the
      chapter 11 cases pursuant to Bankruptcy Rule 1015(b) [Docket No. 28]. Notwithstanding
      the joint administration of the Debtors’ cases for procedural purposes, each Debtor has
      filed its own Schedules and Statements. On April 17, 2019 the United States Trustee for
      the Southern District of New York appointed the official committee of unsecured
      creditors pursuant to section 1102(a)(1) of the Bankruptcy Code.

2.    Basis of Presentation. For financial reporting purposes, the Debtors generally prepare
      consolidated financial statements, which include information for Sizmek. The Schedules
      and Statements are unaudited and reflect the Debtors’ reasonable efforts to report certain
      financial information of each Debtor on an unconsolidated basis. These Schedules and
      Statements neither purport to represent financial statements prepared in accordance with
      Generally Accepted Accounting Principles in the United States (“GAAP”), nor are they
      intended to be fully reconciled with the financial statements of each Debtor.

      The Debtors used reasonable efforts to attribute the assets and liabilities, certain required
      financial information, and various cash disbursements to each particular Debtor entity.
      Because the Debtors’ accounting systems, policies, and practices were developed for
      consolidated reporting purposes rather than for reporting by legal entity, however, it is
      possible that not all assets and liabilities have been recorded with the correct legal entity
      on the Schedules and Statements. Accordingly, the Debtors reserve all rights to
      supplement and amend the Schedules and Statements in this regard, including with
      respect to reallocation of assets or liabilities to any particular entity.

3.    Reporting Date. Unless otherwise noted in the specific responses, the Schedules and
      Statements generally reflect the Debtors’ books and records as of the close of business on
      March 28, 2019.

4.    Current Values. The assets and liabilities of each Debtor are listed on the basis of the
      book value of the asset or liability in the respective Debtor’s accounting books and
      records. Unless otherwise noted, the carrying value on the Debtor’s books, rather than the
      current market value, is reflected in the Schedules and Statements.

5.    Confidentiality. There may be instances where certain information was not included due
      to the nature of an agreement between a Debtor and a third party, concerns about the
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      confidential or commercially sensitive nature of certain information, or to protect the
      privacy of an individual.

6.    Consolidated Entity Accounts Payable and Disbursement Systems. As described in
      the Cash Management Motion, the Debtors utilize an integrated, centralized cash
      management system, in the ordinary course of business, to collect, concentrate, and
      disburse funds generated by their operations (the “Cash Management System”). The
      Debtors maintain a consolidated disbursements system to pay operating and
      administrative expenses through disbursement accounts.

      In the ordinary course of business, the Debtors maintain a business relationship with each
      other, which result in intercompany receivables and payables (the “Intercompany
      Claims”) arising from intercompany transactions (the “Intercompany Transactions”).
      [As set forth more fully in the Cash Management Motion, the primary Intercompany
      Transactions giving rise to Intercompany Claims include expenses paid and cash
      transferred among the Debtors. The Debtors track all Intercompany Transactions in their
      accounting system, which concurrently are recorded on the applicable Debtors’ balance
      sheets. The Debtors’ accounting system requires that all general-ledger entries be
      balanced at the legal-entity level. Unless otherwise noted, the Debtors have reported the
      aggregate net intercompany balances among the Debtors as assets on Schedule A/B or as
      liabilities on Schedule E/F, as appropriate.

7.    Accuracy. The financial information disclosed herein was not prepared in accordance
      with federal or state securities laws or other applicable non-bankruptcy law or in lieu of
      complying with any periodic reporting requirements thereunder. Persons and entities
      trading in or otherwise purchasing, selling, or transferring the claims against or equity
      interests in the Debtors should evaluate this financial information in light of the purposes
      for which it was prepared. The Debtors are not liable for and undertake no responsibility
      to indicate variations from securities laws or for any evaluations of the Debtors based on
      this financial information or any other information.

8.    Net Book Value of Assets. In many instances, current market valuations are not
      maintained by or readily available to the Debtors. As such, wherever possible, net book
      values as of the Petition Date are presented. When necessary, the Debtors have indicated
      that the value of certain assets is “unknown,” “undetermined,” or “N/A.” Amounts
      ultimately realized may vary materially from net book value (or other value so ascribed).
      Accordingly, the Debtors reserve all rights to amend, supplement, and adjust the asset
      values set forth in the Schedules and Statements. As applicable, fixed assets and
      leasehold improvement assets that fully have been depreciated or amortized, or were
      expensed for GAAP accounting purposes, have no net book value, and, therefore, are not
      included in the Schedules and Statements.

9.    Undetermined Amounts. Claim amounts that could not readily be quantified by the
      Debtors are scheduled as “unliquidated,” “undetermined,” “unknown,” or “N/A.” The
      description of an amount as “unliquidated,” “undetermined,” “unknown,” or “N/A” is not
      intended to reflect upon the materiality of the amount.
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10.   Excluded Assets and Liabilities. The Debtors believe that they have identified, but did
      not necessarily value, all material categories of assets and liabilities in the Schedules. The
      Debtors have excluded the following items from the Schedules and Statements: certain
      accrued liabilities, certain prepaid and other current assets considered to have de minimis
      or no market value, and certain other immaterial assets and liabilities.

11.   Totals. All totals that are included in the Schedules and Statements represent totals of all
      the known amounts included in the Schedules and Statements and exclude items
      identified as “unknown” or “undetermined.” If there are unknown or undetermined
      amounts, the actual totals may be materially different from the listed totals.

12.   Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
      unless otherwise indicated.

13.   Payment of Prepetition Claims Pursuant to First Day Orders. Pursuant to a number
      of motions filed on the first day of the Debtors’ Chapter 11 Cases (the “First Day
      Motions”), the Debtors have sought authority to pay certain outstanding prepetition
      payables pursuant to a bankruptcy or other court order. The Bankruptcy Court entered
      certain orders authorizing the Debtors to pay certain of the outstanding prepetition
      payables they sought to pay under the First Day Motions (collectively, the “First Day
      Orders”). As such, outstanding liabilities may have been reduced by any court-approved
      postpetition payments made on prepetition payables or by any anticipated court-approved
      postpetition payments authorized on behalf of prepetition payables. To the extent the
      Debtors pay any amount of the claims listed in the Schedules and Statements pursuant to
      any orders entered by the Bankruptcy Court, the Debtors reserve all rights to amend or
      supplement the Schedules and Statements or to take other action, such as filing claims
      objections, as is necessary and appropriate to avoid overpayment or duplicate payments
      for liabilities. Nothing contained herein should be deemed to alter the rights of any party
      in interest to contest a payment made pursuant to an order of the Bankruptcy Court where
      such order preserves the right to contest.

14.   Other Paid Claims. To the extent the Debtors have reached any postpetition settlement
      with a vendor or other creditor, the terms of such settlement will prevail, supersede
      amounts listed in the Debtors’ Schedules and Statements, and shall be enforceable by all
      parties, subject to Bankruptcy Court approval.

15.   Property, Plant and Equipment. Expenditures for additions, renewals and
      improvements are capitalized at cost. Depreciation is computed on a straight-line method
      based on the estimated useful lives of the related assets. The estimated useful lives of the
      major classes of depreciable assets are 3 years for IT hardware, software, deployment,
      machinery and equipment and approximately 6.67 to 14 years for office equipment,
      furniture and fixtures. Leasehold improvements are depreciated over the shorter of the
      remaining useful life or remaining lease term of the lease. Expenditures for repairs and
      maintenance are charged to operations as incurred. The Debtors periodically evaluate
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      whether current events or circumstances indicate that the carrying value of its depreciable
      assets may not be recoverable.

16.   Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements, or
      Notes shall constitute a waiver of any of the Debtors’ rights, including with respect to
      certain issues related to these chapter 11 cases, including, but not limited to, the
      following:

                 a. Any failure to designate a claim listed on the Debtors’ Schedules and
                    Statements as “disputed,” “contingent,” or “unliquidated” does not
                    constitute an admission by the Debtors that such amount is not “disputed,”
                    “contingent,” or “unliquidated.” The Debtors reserve the right to dispute
                    and to assert setoff rights, counterclaims, and defenses to any claim
                    reflected on the Schedules as to amount, liability, and classification, and to
                    otherwise subsequently designate any claim as “disputed,” “contingent,”
                    or “unliquidated.”

                 b. Notwithstanding that the Debtors have made reasonable efforts to
                    correctly characterize, classify, categorize, or designate certain claims,
                    assets, executory contracts, unexpired leases, and other items reported in
                    the Schedules and Statements, the Debtors nonetheless may have
                    improperly characterized, classified, categorized, or designated certain
                    items. The Debtors thus reserve all rights to recharacterize, reclassify,
                    recategorize, or redesignate items reported in the Schedules and
                    Statements at a later time as is necessary and appropriate.

                 c. The listing of a claim (i) on Schedule D as “secured,” (ii) on Schedule E/F
                    (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as “unsecured,” or (iv)
                    listing a contract or lease on Schedule G as “executory” or “unexpired”
                    does not constitute an admission by the Debtors of the legal rights of the
                    claimant, or a waiver of the Debtors’ rights to recharacterize or reclassify
                    such claim or contract pursuant to a schedule amendment, claim objection
                    or otherwise. Moreover, although the Debtors may have scheduled claims
                    of various creditors as secured claims for informational purposes, no
                    current valuation of the Debtors’ assets in which such creditors may have
                    a security interest has been undertaken. Except as provided in an order of
                    the Bankruptcy Court, the Debtors reserve all rights to dispute and
                    challenge the secured nature or amount of any such creditor’s claims or
                    the characterization of the structure of any transaction, or any document or
                    instrument related to such creditor’s claim.

                 d. In the ordinary course of their business, the Debtors lease equipment and
                    other assets from certain third-party lessors for use in the daily operation
                    of its business. The Debtors have made commercially reasonable efforts to
                    list any such leases in Schedule G, and any current amounts due under
                    such leases that were outstanding as of the Petition Date are listed on
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                  Schedule E/F. Except as otherwise noted herein, the property subject to
                  any such leases is not reflected in Schedule A/B as either owned property
                  or assets of the Debtors, and neither is such property or assets of third
                  parties within the control of the Debtors. Nothing in the Schedules is or
                  shall be construed as an admission or determination as to the legal status
                  of any lease (including whether any lease is a true lease or a financing
                  arrangement), and the Debtors reserve all rights with respect to any of
                  such issues, including the recharacterization thereof.

               e. The claims of individual creditors for, among other things, goods,
                  products, services or taxes are listed as the amounts entered on the
                  Debtors’ books and records and may not reflect credits, allowances or
                  other adjustments due from such creditors to the Debtors. The Debtors
                  reserve all of their rights with regard to such credits, allowances and other
                  adjustments, including the right to assert claims objections and/or setoffs
                  with respect to the same.

               f. The Debtors’ businesses are part of a complex enterprise. Although the
                  Debtors have exercised reasonable efforts to ensure the accuracy of the
                  Schedules and Statements, they nevertheless may contain errors and
                  omissions. The Debtors hereby reserve all of their rights to dispute the
                  validity, status, and enforceability of any contracts, agreements, and leases
                  identified in the Debtors’ Schedules and Statements, and to amend and
                  supplement the Schedules and Statements as necessary.

               g. The Debtors further reserve all of their rights, claims, and causes of action
                  with respect to the contracts and agreements listed on the Schedules and
                  Statements, including, but not limited to, the right to dispute and challenge
                  the characterization or the structure of any transaction, document, and
                  instrument related to a creditor’s claim.

               h. The Debtors exercised reasonable efforts to locate and identify guarantees
                  and other secondary liability claims (the “Guarantees”) in their executory
                  contracts, unexpired leases, secured financings, debt instruments, and
                  other agreements. Where such Guarantees have been identified, they are
                  included in the relevant Schedules and Statements. Guarantees embedded
                  in the Debtors’ executory contracts, unexpired leases, secured financings,
                  debt instruments, and other agreements may have been omitted
                  inadvertently. Thus, the Debtors reserve their rights to amend and
                  supplement the Schedules and Statements to the extent that additional
                  Guarantees are identified. In addition, the Debtors reserve the right to
                  amend the Schedules and Statements to recharacterize and reclassify any
                  such contract or claim.

               i. Listing a contract or lease on the Debtors’ Schedules and Statements shall
                  not be deemed an admission that such contract is an executory contract,
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                     such lease is an unexpired lease, or that either necessarily is a binding,
                     valid, and enforceable contract. The Debtors reserve the right to assert that
                     any contract listed on the Debtors’ Schedules and Statements does not
                     constitute an executory contract within the meaning of section 365 of the
                     Bankruptcy Code, and the right to assert that any lease so listed does not
                     constitute an unexpired lease within the meaning of section 365 of the
                     Bankruptcy Code.

                 j. Exclusion of certain intellectual property should not be construed to be an
                    admission that such intellectual property rights have been abandoned, have
                    been terminated or otherwise expired by their terms, or have been assigned
                    or otherwise transferred pursuant to a sale, acquisition, or other
                    transaction. Conversely, inclusion of certain intellectual property should
                    not be construed to be an admission that such intellectual property rights
                    have not been abandoned, have not been terminated or otherwise expired
                    by their terms, or have not been assigned or otherwise transferred pursuant
                    to a sale, acquisition, or other transaction.

17.   Global Notes Control. In the event that the Schedules or Statements differ from any of
      the foregoing Global Notes, the Global Notes shall control.

Specific Notes with Respect to the Debtors’ Schedules

1.    Schedule A/B

          a. A/B.3. As set forth more fully in the Cash Management Motion, the Debtors
             conduct their operations through a network of bank accounts as outlined in the
             Cash Management Systems chart attached to the Cash Management Motion as
             Exhibit 1. The values provided for in Schedule A/B, Item 3 for each account for a
             given Debtor reflects the ending cash balance of such account as of the close of
             business on March 28, 2019.

          b. A/B.11. Schedule A/B Item 11 identifies the gross accounts receivable balance as
             of the Petition Date.

          c. A/B.60-65. The value of the Debtors’ intellectual property is contingent and
             unliquidated. The Debtors’ intellectual property has not been appraised by a
             professional and is listed at net book value.

          d. A/B.72. The Debtors’ file taxes on a consolidated basis under the non-Debtor
             entity Solomon Acquisition Corp. As such, the Net Operating Loss amounts listed
             in the schedule reflect the consolidated Net Operating Loss amounts available to
             Solomon Acquisition Corp. and have not been allocated to its subsidiaries.

          e. A/B.70–77. Despite exercising their commercially reasonable efforts to identify
             all known assets, the Debtors may not have listed all of their causes of action or
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             potential causes of action against third parties as assets in their Schedules. Unless
             otherwise noted on specific responses, items reported on Schedule A/B are
             reported from the Debtors’ books and records as of the Petition Date. Assets that
             remain unreconciled but otherwise exist within the Debtors’ books and records
             have been captured as “Unreconciled Assets” and are subject to further review. In
             the ordinary course of their businesses, the Debtors may have accrued, or may
             subsequently accrue, certain rights to counterclaims, cross-claims, credits, rebates,
             or refunds with their customers and suppliers or potential warranty claims against
             their suppliers. The Debtors reserve all of their rights with respect to any claims
             and causes of action they may have. Neither these Notes nor the Schedules shall
             be deemed a waiver of any such claims or causes of action or to prejudice or
             impair the assertion thereof in any way. All known litigation claims against the
             Debtors are listed on Schedule F. Where a Debtor holds a positive net
             intercompany balance, such amount has been listed on Item 77, Schedule A/B for
             such Debtor. Similarly, where a Debtor holds a negative net intercompany
             balance, such amount has been listed on Schedule E/F, Part 2 for such Debtor.

2.    Schedule D. The claims listed on Schedule D, as well as the guarantees of those claims
      listed on Schedule H, arose and were incurred on various dates; a determination of the
      date upon which each claim arose or was incurred would be unduly burdensome and cost
      prohibitive. Accordingly, not all such dates are included for each claim. To the best of the
      Debtors’ knowledge, all claims listed on Schedule D arose or were incurred before the
      Petition Date.

      Except as otherwise agreed to or stated pursuant to a stipulation, agreed order, or general
      order entered by the Bankruptcy Court that is or becomes final, the Debtors and their
      estates reserve their right to dispute and challenge the validity, perfection, or immunity
      from avoidance of any lien purported to be granted or perfected in any specific asset to a
      creditor listed on Schedule D of any Debtor and, subject to the foregoing limitations, note
      as follows: (a) although the Debtors may have scheduled claims of various creditors as
      secured claims for informational purposes, no current valuation of the Debtors’ assets in
      which such creditors may have a lien has been undertaken; (b) the Debtors reserve all
      rights to dispute and challenge the secured nature of any creditor’s claim or the
      characterization of the structure of any such transaction or any document or instrument
      related to such creditor’s claim; and (c) the descriptions provided on Schedule D only are
      intended to be a summary. Reference to the applicable loan agreements and related
      documents is necessary for a complete description of the collateral and the nature, extent,
      and priority of any liens.

      Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of
      collateral relating to the debt contained on Schedule D are contained in the Declaration of
      Sascha Wittler, Chief Financial Officer of Sizmek Inc., (I) in Support of Chapter 11
      Petitions and First Day Pleadings, and (II) Pursuant to Local Rule 1007-2 [Docket No.
      13], and the Supplemental Declaration of Sascha Wittler, Chief Financial Officer of
      Sizmek, Inc. (I) in Support of Chapter 11 Petitions and First Day Pleadings, and (II)
      Pursuant to Local Rule 1007-2 [Docket No. 54] (together, the “Declaration”).
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3.    Schedule E/F

         a. (Part 1). The claims listed on Schedule E/F (Part 1) arose and were incurred on
            various dates; a determination of the date upon which each claim arose or was
            incurred would be unduly burdensome and cost prohibitive. Accordingly, not all
            such dates are included for each claim. To the best of the Debtors’ knowledge, all
            claims listed on Schedule E/F arose or were incurred before the Petition Date.

            The Debtors have not listed certain wage, or wage-related obligations that the
            Debtors have paid pursuant to First Day Orders on Schedule E/F. The Bankruptcy
            Court, however, has not yet granted all of the relief sought by the First Day
            Motions. Additional hearings are scheduled before the Bankruptcy Court to
            consider the further relief sought under the First Day Motions. As such,
            outstanding liabilities may have been reduced by any court-approved postpetition
            payments made on prepetition payables or by any anticipated court-approved
            postpetition payments authorized on behalf of prepetition payables. Where and to
            the extent these liabilities have been satisfied or are anticipated to be satisfied,
            they are not listed in the Schedules and Statements unless otherwise noted. To the
            extent the Debtors later pay any amount of the claims listed in the Schedules and
            Statements pursuant to any orders entered by the Bankruptcy Court, the Debtors
            reserve all rights to amend or supplement the Schedules and Statements or to take
            other action, such as filing claims objections, as is necessary and appropriate to
            avoid overpayment or duplicate payments for liabilities. Further, to the extent the
            Debtors do not obtain the relief pursuant to the First Day Motions that they
            anticipate, the Debtors will amend these Schedules and Statements. The Debtors
            reserve the right to dispute or challenge whether creditors listed on Schedule E/F
            are entitled to priority status pursuant to sections 503 and/or 507 of the
            Bankruptcy Code.


            Claims owing to various taxing authorities to which the Debtors potentially may
            be liable are included on the Debtors’ Schedule E/F. Certain of such claims,
            however, may be subject to ongoing audits and/or the Debtors otherwise are
            unable to determine with certainty the amount of the remaining claims listed on
            Schedule E/F.

            The Debtors reserve the right to assert that any claim listed on Schedule E/F does
            not constitute a priority claim under the Bankruptcy Code.

         b. (Part 2). The Debtors have exercised their commercially reasonable efforts to list
            all liabilities on Schedule E/F of each applicable Debtor. As a result of the
            Debtors’ consolidated operations, however, the reader should review Schedule
            E/F for all Debtors in these cases for a complete understanding of the unsecured
            debts of the Debtors. Additional lines have been added as "Other Unreconciled
            Amounts" which are subject to further review. The Debtors reserve their rights
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             with respect to the reallocation of such amounts to the appropriate counterparty.
             Certain creditors listed on Schedule E/F may owe amounts to the Debtors, and, as
             such, the Debtors may have valid setoff and recoupment rights with respect to
             such amounts. The amounts listed on Schedule E/F may not reflect any such right
             of setoff or recoupment, and the Debtors reserve all rights to assert the same and
             to dispute and challenge any setoff and/or recoupment rights that may be asserted
             against the Debtors by a creditor. Additionally, certain creditors may assert
             mechanic’s, materialman’s, or other similar liens against the Debtors for amounts
             listed on Schedule E/F. The Debtors reserve their rights to dispute and challenge
             the validity, perfection, and immunity from avoidance of any lien purported to be
             perfected by a creditor listed on Schedule E/F of any Debtor. In addition, certain
             claims listed on Schedule E/F (Part 2) may be entitled to priority under 11 U.S.C.
             § 503(b)(9).

             The Debtors have made reasonable efforts to include all unsecured creditors on
             Schedule E/F including, but not limited to, occupancy creditors, consultants, and
             other service providers. The Debtors have also included trade creditors and taxing
             authorities on Schedule E/F, some of whose claims have been satisfied, in whole
             or in part, pursuant to the First Day Orders. Notwithstanding the foregoing, the
             Debtors believe that there are instances where creditors have yet to provide proper
             invoices for prepetition goods or services. Additionally, certain bank maintenance
             fees have not been listed in Schedule E/F for the Debtors where determining and
             allocating such amounts among the Debtors would be unduly burdensome.
             Moreover, Schedule E/F does not include certain balances including deferred
             liabilities, accruals, or general reserves. Such amounts are, however, reflected on
             the Debtors’ books and records as required in accordance with GAAP. Such
             accruals primarily represent general estimates of liabilities and do not represent
             specific claims as of the Petition Date. The Debtors have made reasonable efforts
             to include as contingent, unliquidated and/or disputed the claim of any party not
             included on the Debtors’ open accounts payable that is associated with an account
             that has an accrual or receipt not invoiced.

             The Debtors may pay additional claims listed on Schedule E/F during these
             Chapter 11 Cases pursuant to these and other orders of the Bankruptcy Court and
             the Debtors reserve all of their rights to update Schedule E/F to reflect such
             payments or to modify the claims register to account for the satisfaction of such
             claim. Additionally, Schedule E/F does not include potential rejection damage
             claims, if any, of the counterparties to executory contracts and unexpired leases
             that have been, or may be, rejected.

4.    Schedule G. Although reasonable efforts have been made to ensure the accuracy of
      Schedule G regarding executory contracts and unexpired leases (collectively, the
      “Agreements”), review is ongoing and inadvertent errors, omissions or overinclusion
      may have occurred. The Debtors may have entered into various other types of
      Agreements in the ordinary course of their businesses, such as indemnity agreements,
      supplemental agreements, and amendments/letter agreements that may not be set forth in
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      Schedule G. In addition, as described herein, certain non-disclosure agreements and/or or
      other confidential information have been omitted, as well as certain short-term purchase
      and sales orders given their large number and transitory nature. In addition, the remaining
      terms for certain agreements have been listed at their original or amended terms where
      available, while in other cases the terms have been listed as “N/A”.

      Omission of an agreement from Schedule G does not constitute an admission that such
      omitted agreement is not an executory contract or unexpired lease. Schedule G may be
      amended at any time to add any omitted Agreements. Likewise, the listing of an
      Agreement on Schedule G does not constitute an admission that such Agreement is an
      executory contract or unexpired lease or that such Agreement was in effect on the
      Petition Date or is valid or enforceable. The Agreements listed on Schedule G may have
      expired or may have been modified, amended, or supplemented from time to time by
      various amendments, restatements, waivers, estoppel certificates, letter and other
      documents, instruments and agreements that may not be listed on Schedule G. Executory
      agreements that are oral in nature have not been included in Schedule G. Any and all of
      the Debtors’ rights, claims and causes of action with respect to the Agreements listed on
      Schedule G are hereby reserved and preserved, and as such, the Debtors hereby reserve
      all of their rights to (i) dispute the validity, status, or enforceability of any Agreements set
      forth on Schedule G, (ii) dispute or challenge the characterization of the structure of any
      transaction, or any document or instrument related to a creditor’s claim, including, but
      not limited to, the Agreements listed on Schedule G and (iii) to amend or supplement
      such Schedule as necessary. Certain of the Agreements listed on Schedule G may have
      been entered into on behalf of more than one of the Debtors. Additionally, the specific
      Debtor obligor(s) to certain of the Agreements may not have been specifically ascertained
      in every circumstance. In such cases, the Debtors have made reasonable efforts to
      identify the correct Debtor’s Schedule G on which to list the Agreement and, where a
      contract party remained uncertain, such Agreement may have been listed on a different
      Debtor’s Schedule G.

5.    Schedule H. The Debtors are party to various debt agreements, which were executed by
      the Debtors. The obligations of guarantors under prepetition, secured credit agreements
      are noted on Schedule H for each individual debtor. In the ordinary course of their
      businesses, the Debtors are involved in pending or threatened litigation and claims arising
      out of the conduct of their businesses. Some of these matters may involve multiple
      plaintiffs and defendants, some or all of whom may assert cross-claims and counter-
      claims against other parties. Because such claims are listed on each Debtor’s Schedule
      E/F and Statement 7, as applicable, they have not been set forth individually on Schedule
      H. Further, the Debtors may not have identified certain guarantees that are embedded in
      the Debtors’ executory contracts, unexpired leases, secured financings, debt instruments
      and other such agreements. No claim set forth on the Schedules and Statements of any
      Debtor is intended to acknowledge claims of creditors that are otherwise satisfied or
      discharged by other Debtors or non-Debtors. To the extent there are guarantees connected
      with any joint ventures to which the Debtors may be a party, such agreements are not
      identified in the Debtors’ Schedules. The Debtors reserve all of their rights to amend the
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      Schedules to the extent that additional guarantees are identified or such guarantees are
      discovered to have expired or be unenforceable.

Specific Notes with Respect to the Debtors’ Statements


1.    Statement 1. Gross revenues reported for Sizmek DSP Inc. include revenues earned
      since the acquisition of the business on September 6, 2017, until the petition date.

2.    Statement 2. Upfront payment amounts received from subleases, proceeds from sale of
      assets, bank interest income, dividend / capital gains, and intercompany interest are gross
      amounts, including any amounts withheld for associated tax liabilities. The Debtors’
      “YTD 2017” and “YTD 2018” reflects revenues between January 1st and December 31st
      of each respective year. “YTD 3/2019” reflects revenues between January 1st and March
      28th of 2019.

3.    Statement 3. The obligations of the Debtors are primarily paid by and through Sizmek
      Technologies, Inc. and Sizmek DSP Inc., notwithstanding the fact that certain obligations
      may be obligations of other Debtor entities.

      The payments disclosed in Statement 3 are based on payments made by the Debtors with
      payment dates from December 28, 2018 to March 28, 2019. The actual dates that cash
      cleared the Debtors’ bank accounts may differ based on the form of payment. The
      Debtors’ accounts payable system does not include the corresponding payment clear
      dates and compiling this data would have required a significant manual review of
      individual bank statements. It is expected, however, that many payments included in
      Statement 3 have payment clear dates that are the same as payment dates (e.g., wires and
      other forms of electronic payments).

      The responses to Statement 3 exclude certain disbursements or transfers to creditors
      otherwise listed in Statement 9, Statement 11, and payments made on account of certain
      employee obligations including, but not limited to, medical costs and business expense
      reimbursements.

4.    Statement 4. The Debtors reserve all rights with respect to the determination or status of
      a person as an “insider” as defined in section 101(13) of the Bankruptcy Code. For more
      information regarding each Debtor’s officers and directors, see Statement 28 and
      Statement 29.

      The payroll-related amount shown in response to this question, which includes, among
      other things, salary, wage, additional compensation, is a gross amount that does not
      include reductions for amounts including employee tax or benefit withholdings. In the
      ordinary course of business, certain corporate or personal credit cards may be utilized by
      insiders to pay for travel and business-related expenses for various other individuals
      employed by the Debtors. As it would be unduly burdensome for the Debtors to analyze
      which credit card expenses related to those incurred on behalf of an insider as opposed to
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      another employee (or the Debtors), the Debtors have listed the aggregate amount paid for
      such expenses. Amounts still owed to creditors will appear on the Schedules for each of
      the Debtors.

5.    Statement 7. Actions described in response to Statement 7 include, but are not limited to,
      employee claims and patent infringement claims.

      The Debtors reserve all of their rights and defenses with respect to any and all listed
      lawsuits and administrative proceedings. The listing of such suits and proceedings shall
      not constitute an admission by the Debtors of any liabilities or that the actions or
      proceedings were correctly filed against the Debtors or any affiliates of the Debtors. The
      Debtors also reserve their rights to assert that neither the Debtors nor any affiliate of the
      Debtors is an appropriate party to such actions or proceedings. Further, the Debtors
      operate in numerous jurisdictions and in the ordinary course of business may have
      disputed property valuations/tax assessments. The Debtors have not listed such disputes
      on Statement 7.

6.    Statement 11. The Debtors have used reasonable efforts to identify payments for
      services of any entities who provided consultation concerning debt counseling or
      restructuring services, relief under the Bankruptcy Code or preparation of a petition in
      bankruptcy within one year immediately preceding the Petition Date, which are identified
      in Sizmek’s response to Statement 11. Additional information regarding the Debtors’
      retention of professional service firms is more fully described in the individual retention
      applications for those firms and related orders.

      Additionally, DeWeese & Associates, PLLC, Osborne Clarke LLP, DLA Piper UK, LLP,
      and others provided prepetition services to the Debtors in a capacity wholly unrelated to
      these Chapter 11 Cases. Out of an abundance of caution, Statement 11 includes all
      amounts paid by the Debtors to each of those professionals within 1 year before the
      Petition Date, regardless of the nature of services such professionals provided.

7.    Statement 25. The Debtors have used reasonable efforts to identify the beginning and
      ending dates of all businesses in which the Debtors were a partner or owned five percent
      or more of the voting or equity securities within the six years immediately preceding the
      Petition Date. In certain instances, however, the dissolution dates of certain entities that
      are no longer in existence were not readily available and, therefore, are not included in
      Statement 25. All such entities were either merged with other entities owned by the
      Debtors or were dissolved prior to the Petition Date.

8.    Statement 26(d). The Debtors provided financial statements in the ordinary course of
      business to certain parties for business, statutory, credit, financing and other reasons.
      Recipients have included, financial institutions, investment banks, debtholders, and
      certain of their advisors. Financial statements have also been provided to other parties as
      requested.
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9.    Statement 30. Any and all known disbursements to insiders of the Debtors have been
      listed in the response to Statement 4. The items listed under Statement 30 incorporate by
      reference any items listed under Statement 4, and vice versa.
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 Fill in this information to identify the case:

 Debtor name: WirelessDeveloper, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                       Check if this is an
 Case number: 19-10976
                                                                                                                       amended ling


O cial Form 206Sum
Summary of Assets and Liabilities for Non-Individuals
 Part 1:   Summary of Assets
 1. Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B)
  1a. Real property:                                                                                 $0.00
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                       $131,766.88
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                         $131,766.88
          Copy line 92 from Schedule A/B

 Part 2:   Summary of Liabilities

 2. Schedule D: Creditors Who Have Claims Secured by Property (O cial Form 206D)                     $168,866,432.00
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (O cial Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                              $0.00
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                              $434,722.14
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                $169,301,154.14
 Lines 2 + 3a + 3b
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 Fill in this information to identify the case:

 Debtor name: WirelessDeveloper, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                            Check if this is an
 Case number: 19-10976
                                                                                                                                                            amended ling


O cial Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the debtor
holds rights and powers exercisable for the debtor's own bene t. Also include assets and properties which have no book value, such as fully depreciated assets or assets that
were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Of cial Form
206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case number
(if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the attachment in
the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a xed asset schedule or depreciation schedule,
that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured claims. See the
instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes. Fill in the information below.


  All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor’s interest


 2. Cash on hand

 2.1                                                                                                                                    $0.00




 3. Checking, savings, money market, or nancial brokerage accounts (Identify all)
 Name of institution (bank or brokerage rm)                           Type of account                     Last 4 digits of account
                                                                                                          #

 3.1                                                                                                                                    $0.00




 4. Other cash equivalents (Identify all)
 4.1                                                                                                                                    $0.00




 5. Total of Part 1
 Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                          $0.00



 Part 2:     Deposits and prepayments
 6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.
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                                                                                                                                         Current value of debtor’s interest
7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit


7.1                                                                                                                                      $0.00




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment


8.1                                                                                                                                      $0.00




9. Total of Part 2
Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                          $0.00



Part 3:     Accounts receivable
10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.



                                                                                                                                         Current value of debtor’s interest
11. Accounts receivable
11a.       90 days old or                                                -                                                  = ........   $0.00
           less:                 face amount                                                                                   
                                                                                 doubtful or uncollectible accounts



11b.       Over 90 days old:                                                 -                                              = ........   $0.00
                                                                                                                               
                                 face amount                                     doubtful or uncollectible accounts




12. Total of Part 3
Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                          $0.00



Part 4:     Investments
13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes. Fill in the information below.



                                                                                                  Valuation method used for current      Current value of debtor’s interest
                                                                                                  value
14. Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:


14.1                                                                                                                                     $0.00
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15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
partnership, or joint venture
Name of entity:                                                         % of
                                                                        ownership:

15.1                                                                           %                                               $0.00




16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
Describe:


16.1                                                                                                                           $0.00




17. Total of Part 4
Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                $0.00



Part 5:     Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes. Fill in the information below.



 General description                                      Date of        Net book value of        Valuation method             Current value of debtor’s interest
                                                          the last       debtor's interest        used for current value
                                                          physical       (Where available)
                                                          inventory
19. Raw materials
                                                                        $                                                      $0.00




20. Work in progress
                                                                        $                                                      $0.00




21. Finished goods, including goods held for resale
                                                                        $                                                      $0.00




22. Other inventory or supplies
                                                                        $                                                      $0.00



23. Total of Part 5
Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                $0.00




24. Is any of the property listed in Part 5 perishable?

          No
          Yes
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25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was led?

          No
          Yes       Book value   $                                Valuation method                                     Current value    $




26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

          No
          Yes


Part 6:     Farming and shing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and shing-related assets (other than titled motor vehicles and land)?

          No. Go to Part 7.
          Yes. Fill in the information below.



 General description                                                         Net book value of        Valuation method             Current value of debtor’s interest
                                                                             debtor's interest        used for current value
                                                                             (Where available)
28. Crops—either planted or harvested
                                                                             $                                                    $0.00




29. Farm animals Examples: Livestock, poultry, farm-raised sh
                                                                             $                                                    $0.00




30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                             $                                                    $0.00




31. Farm and shing supplies, chemicals, and feed
                                                                             $                                                    $0.00




32. Other farming and shing-related property not already listed in Part 6
                                                                             $                                                    $0.00




33. Total of Part 6
Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                   $0.00




34. Is the debtor a member of an agricultural cooperative?

           No
           Yes. Is any of the debtor’s property stored at the cooperative?
                          No
                          Yes
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35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was led?

          No
          Yes           Book     $                                 Valuation method                                                Current value      $
                        value


36. Is a depreciation schedule available for any of the property listed in Part 6?

          No
          Yes



37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

          No
          Yes


Part 7:     O ce furniture, xtures, and equipment; and collectibles
38. Does the debtor own or lease any o ce furniture, xtures, equipment, or collectibles?

          No. Go to Part 8.
          Yes. Fill in the information below.



 General description                                                             Net book value of                Valuation method                Current value of debtor’s interest
                                                                                 debtor's interest                used for current value
                                                                                 (Where available)
39. O ce furniture
39.1                                                                            $                                                                $0.00




40. O ce xtures
40.1                                                                            $                                                                $0.00




41. O ce equipment, including all computer equipment and communication systems equipment and software
41.1                                                                            $                                                                $0.00




42. Collectibles Examples: Antiques and gurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections;
other collections, memorabilia, or collectibles

42.1                                                                            $                                                                $0.00




43. Total of Part 7
Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                  $0.00




44. Is a depreciation schedule available for any of the property listed in Part 7?

          No
          Yes
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45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

          No
          Yes


Part 8:     Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
          Yes. Fill in the information below.



 General description                                                        Net book value of              Valuation method              Current value of debtor’s interest
 Include year, make, model, and identi cation numbers (i.e., VIN,           debtor's interest              used for current value
 HIN, or N-number)                                                          (Where available)
47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1                                                                       $                                                            $0.00




48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, oating homes, personal watercraft, and shing vessels
48.1                                                                       $                                                            $0.00




49. Aircraft and accessories
49.1                                                                       $                                                            $0.00




50. Other machinery, xtures, and equipment (excluding farm machinery and equipment)
50.1                                                                       $                                                            $0.00




51. Total of Part 8.
Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                         $0.00




52. Is a depreciation schedule available for any of the property listed in Part 8?

          No
          Yes



53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

          No
          Yes
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Part 9:     Real Property
54. Does the debtor own or lease any real property?

          No. Go to Part 10.
          Yes. Fill in the information below.



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
  Description and location of property                       Nature and extent of        Net book value of            Valuation method            Current value of
  Include street address or other description such as        debtor’s interest in        debtor's interest            used for current value      debtor’s interest
  Assessor Parcel Number (APN), and type of                  property                    (Where available)
  property (for example, acreage, factory, warehouse,
  apartment or o ce building), if available.

55.1                                                                                   $                                                         $0.00




56. Total of Part 9.
Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                    $0.00




57. Is a depreciation schedule available for any of the property listed in Part 9?

          No
          Yes



58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

          No
          Yes


Part 10:        Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

          No. Go to Part 11.
          Yes. Fill in the information below.



 General description                                                       Net book value of           Valuation method             Current value of debtor’s interest
                                                                           debtor's interest           used for current value
                                                                           (Where available)
60. Patents, copyrights, trademarks, and trade secrets
60.1                                                                      $                                                        $0.00




61. Internet domain names and websites
61.1                                                                      $                                                        $0.00




62. Licenses, franchises, and royalties
62.1                                                                      $                                                        $0.00
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63. Customer lists, mailing lists, or other compilations
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63.1                                                                      $                                                          $0.00




64. Other intangibles, or intellectual property
64.1                                                                      $                                                          $0.00




65. Goodwill
65.1                                                                      $                                                          $0.00




66. Total of Part 10.
Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                      $0.00




67. Do your lists or records include personally identi able information of customers (as de ned in 11 U.S.C. §§ 101(41A) and 107)?

       No
       Yes



68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

       No
       Yes



69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

       No
       Yes


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes. Fill in the information below.



                                                                                                                                     Current value of debtor’s interest
71. Notes receivable
Description (include name of obligor)
71.1                                                                            -                                    =              $0.00
                                             total face amount                           doubtful or uncollectible
                                                                                         amount




72. Tax refunds and unused net operating losses (NOLs)
Description (for example, federal, state, local)
72.1                                                                                              Tax year                           $0.00
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73. Interests in insurance policies or annuities

73.1                                                                                                                             $0.00




74. Causes of action against third parties (whether or not a lawsuit has been led)
 74.1                                                                                                                            $0.00

 Nature of Claim

 Amount requested                  $




75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
 75.1                                                                                                                            $0.00

 Nature of Claim

 Amount requested                  $




76. Trusts, equitable or future interests in property
76.1                                                                                                                             $0.00




77. Other property of any kind not already listed Examples: Season tickets, country club membership
77.1     INTERCOMPANY - SIZMEK DSP INC.                                                                                          $131,766.88




78. Total of Part 11.
Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                   $131,766.88




79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

        No
        Yes
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Part 12:     Summary
 In Part 12 copy all of the totals from the earlier parts of the form.

Type of property                                                             Current value of         Current value of real
                                                                             personal property        property

 80. Cash, cash equivalents, and nancial assets. Copy line 5, Part 1.        $0.00




 81. Deposits and prepayments. Copy line 9, Part 2.                          $0.00




 82. Accounts receivable. Copy line 12, Part 3.                              $0.00




 83. Investments. Copy line 17, Part 4.                                      $0.00




 84. Inventory. Copy line 23, Part 5.                                        $0.00




 85. Farming and shing-related assets. Copy line 33, Part 6.                 $0.00




 86. O ce furniture, xtures, and equipment; and collectibles. Copy           $0.00
 line 43, Part 7.



 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.               $0.00




 88. Real property. Copy line 56, Part 9.                                                            $0.00
                                                                                                 



 89. Intangibles and intellectual property.. Copy line 66, Part 10.          $0.00




 90. All other assets. Copy line 78, Part 11.                                $131,766.88




 91. Total. Add lines 80 through 90 for each column                   91a.                                       91b.
                                                                              $131,766.88                                $0.00




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                 $131,766.88
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                                                                          Pg 28 of 37

 Fill in this information to identify the case:

 Debtor name: WirelessDeveloper, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                           Check if this is an
 Case number: 19-10976
                                                                                                                                                           amended ling


O cial Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

 Part 1:     List Creditors Who Have Claims Secured by Property
 1. Do any creditors have claims secured by debtor's property?

           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.



 2. List creditors who have secured claims.If a creditor has more than one secured claim, list the           Column A                         Column B
 creditor separately for each claim.
                                                                                                             Amount of Claim                  Value of collateral that
                                                                                                             Do not deduct the value of       supports this claim
                                                                                                             collateral.

   2.1                                                  Describe debtor's property that is subject to       $146,954,066.00                  $ TBD
              Creditor's name and mailing               the lien:
              address
              CERBERUS BUSINESS FINANCE,                Describe the lien
              LLC, 875 THIRD AVENUE, 10TH               1ST LIEN PRINCIPAL DEBT BALANCE
              FLOOR, NEW YORK, NY 10022
                                                        Is the creditor an insider or related party?
             Date debt was incurred?
                                                               No
              SEPTEMBER 6, 2017
                                                               Yes
             Last 4 digits of account number            Is anyone else liable on this claim?
                                                               No

             Do multiple creditors have an interest            Yes Fill out Schedule H: Codebtors (O cial
             in the same property?                             Form 206H)
                                                        As of the petition ling date, the claim is:
                    No
                                                        Check all that apply.
                    Yes. Specify each creditor,
                                                             Contingent
                    including this creditor, and its
                    relative priority.
                                                             Unliquidated
              SIZMEK FINCO, LLC (VECTOR
              CAPITAL MANAGEMENT) -
                                                             Disputed
              2ND
              LIEN LIEN, 3RD LIEN
                    3RD LIEN
              CERBERUS CAPITAL
              MANAGEMENT, L.P. - 3RD LIEN
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2.2                                                              Pg 29 of 37  $5,850,027.32
                                               Describe debtor's property that is subject to                          $ TBD
      Creditor's name and mailing              the lien:
      address
      CERBERUS BUSINESS FINANCE,               Describe the lien
      LLC, 875 THIRD AVENUE, 10TH              3RD LIEN ACCRUED PIK INTEREST
      FLOOR, NEW YORK, NY 10022
                                               Is the creditor an insider or related party?
      Date debt was incurred?
                                                      No
      '9/6/17 - 3/28/19
                                                      Yes
      Last 4 digits of account number          Is anyone else liable on this claim?
                                                      No

      Do multiple creditors have an interest          Yes Fill out Schedule H: Codebtors (O cial
      in the same property?                           Form 206H)
                                               As of the petition ling date, the claim is:
            No
                                               Check all that apply.
           Yes. Specify each creditor,
                                                    Contingent
           including this creditor, and its
           relative priority.
                                                    Unliquidated
      SIZMEK FINCO, LLC (VECTOR
      CAPITAL MANAGEMENT) -
                                                    Disputed
      2ND LIEN, 3RD LIEN


2.3                                            Describe debtor's property that is subject to       $15,000,000.00     $ TBD
      Creditor's name and mailing              the lien:
      address
      SIZMEK FINCO, LLC (VECTOR
                                               Describe the lien
      CAPITAL MANAGEMENT), ONE
                                               2ND LIEN PRINCIPAL DEBT BALANCE
      MARKET STREET, STEUART TOWER,
      23RD FLOOR, SAN FRANCISCO, CA            Is the creditor an insider or related party?
      94105                                           No
      Date debt was incurred?                         Yes
      AUGUST 6, 2018                           Is anyone else liable on this claim?
                                                      No
      Last 4 digits of account number
                                                      Yes Fill out Schedule H: Codebtors (O cial
                                                      Form 206H)
      Do multiple creditors have an interest   As of the petition ling date, the claim is:
      in the same property?                    Check all that apply.

            No                                      Contingent

            Yes. Specify each creditor,
                                                    Unliquidated
            including this creditor, and its
            relative priority.
                                                    Disputed
       CERBERUS CAPITAL
       MANAGEMENT, L.P. - 1ST
       LIEN, 3RD LIEN
             19-10971-smb                 Doc 131         Filed 04/27/19 Entered 04/27/19 00:35:59                                   Main Document
  2.4                                                                Pg 30 of 37  $1,062,338.68
                                                   Describe debtor's property that is subject to                                          $ TBD
          Creditor's name and mailing              the lien:
          address
          SIZMEK FINCO, LLC (VECTOR                Describe the lien
          CAPITAL MANAGEMENT), ONE                 3RD LIEN ACCRUED PIK INTEREST
          MARKET STREET, STEUART TOWER,
          23RD FLOOR, SAN FRANCISCO, CA            Is the creditor an insider or related party?
          94105                                           No
          Date debt was incurred?                         Yes
          8/6/18 - 3/28/19                         Is anyone else liable on this claim?
                                                          No
          Last 4 digits of account number
                                                          Yes Fill out Schedule H: Codebtors (O cial
                                                          Form 206H)
          Do multiple creditors have an interest   As of the petition ling date, the claim is:
          in the same property?                    Check all that apply.

                No                                      Contingent

                Yes. Specify each creditor,
                                                        Unliquidated
                including this creditor, and its
                relative priority.
                                                        Disputed
          CERBERUS CAPITAL
          MANAGEMENT, L.P. - 1ST LIEN,
          3RD LIEN




3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional        $168,866,432.00
Page, if any.


Part 2:   List Others to Be Noti ed for a Debt That You Already Listed
List in alphabetical order any others who must be noti ed for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees
of claims listed above, and attorneys for secured creditors.
If no others need to be noti ed for the debts listed in Part 1, do not ll out or submit this page. If additional pages are needed, copy this page.
                                                                                          On which line in Part 1 did you enter     Last 4 digits of account number for
 Name and address           Sort                                                                                                    this entity
                                                                                          the related creditor?     Sort


 3.1      PETRUS CAPITAL MANAGEMENT, LLC, 3000 TURTLE CREEK BLVD,                         2.1 & 2.2
          DALLAS, TX 75219
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                                                                          Pg 31 of 37

 Fill in this information to identify the case:

 Debtor name: WirelessDeveloper, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                                 Check if this is an
 Case number: 19-10976
                                                                                                                                                                 amended ling


O cial Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal Property
(Of cial Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Of cial Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If
more space is needed for Part 1 or Part 2, ll out and attach the Additional Page of that Part included in this form.

 Part 1:     List All Creditors with PRIORITY Unsecured Claims
 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.



 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority
 unsecured claims, ll out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

  2.1        Priority creditor’s name and mailing address                As of the petition ling date, the claim is:          $                             $0.00
                                                                         Check all that apply.

             Date or dates debt was incurred                                  Contingent

                                                                              Unliquidated
             Last 4 digits of account number
                                                                              Disputed
                                                                         Basis for the claim:
             Specify Code subsection of PRIORITY unsecured
             claim:
                                                                         Is the claim subject to offset?
             11 U.S.C. § 507(a) (            )
                                                                                No
                                                                                Yes



 Part 2:     List All Creditors with NONPRIORITY Unsecured Claim
 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, ll out and attach the
 Additional Page of Part 2.

                                                                                                                                                             Amount of claim

  3.1        Nonpriority creditor’s name and mailing address                                As of the petition ling date, the claim is:                     $434,722.14
             SIZMEK DSP INC., 401 PARK AVENUE SOUTH, 5TH FLOOR, NEW                         Check all that apply.
             YORK, NY 10016
                                                                                                Contingent
             Date or dates debt was incurred
                                                                                                Unliquidated

                                                                                                Disputed
                                                                                            Basis for the claim:
                                                                                            INTERCOMPANY CLAIM
                                                                                            Is the claim subject to offset?
                                                                                                  No
                                                                                                  Yes
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Part 3:   List Others to BE Noti         ed About Unsecured Claims Pg 32 of 37
4. List in alphabetical order any others who must be noti ed for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of
claims listed above, and attorneys for unsecured creditors.

If no others need to be noti ed for the debts listed in Parts 1 and 2, do not ll out or submit this page. If additional pages are needed, copy the next page.
 Name and mailing address                                                                   On which line in Part 1 or Part 2 is the related             Last 4 digits of
                                                                                            creditor (if any) listed?                                    account number, if any

 4.1.                                                                                       Line


                                                                                                   Not listed. Explain




Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                          Total of claim amounts

 5a. Total claims from Part 1                                                                                                     5a.    $0.00
 5b. Total claims from Part 2                                                                                                     5b.    $434,722.14
 5c. Total of Parts 1 and 2                                                                                                       5c.
                                                                                                                                          $434,722.14
 Lines 5a + 5b = 5c.
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                                                                      Pg 33 of 37

 Fill in this information to identify the case:

 Debtor name: WirelessDeveloper, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                       Check if this is an
 Case number: 19-10976
                                                                                                                                                       amended ling


O cial Form 206G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 Schedule G:     Executory Contracts and Unexpired Leases
 1. Does the debtor have any executory contracts or unexpired leases?

        No. Check this box and le this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B).



  2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with whom the debtor
                                                                                          has an executory contract or unexpired lease

  2.1     State what the contract
          or lease is for and the
          nature of the debtor’s
          interest
          State the term
          remaining
          List the contract
          number of any
          government contract
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 Fill in this information to identify the case:

 Debtor name: WirelessDeveloper, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                                       Check if this is an
 Case number: 19-10976
                                                                                                                                                                       amended ling


O cial Form 206H
Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this page.

 1. Does the debtor have any codebtors?

        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes



 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
 guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than
 one creditor, list each creditor separately in Column 2.

   Column 1: Codebtor                                                                              Column 2: Creditor


   Name                            Mailing Address                                                Name                                                             Check all schedules
                                                                                                                                                                   that apply:

 2.1 POINT ROLL, INC.             401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     CERBERUS BUSINESS FINANCE, LLC
                                                                                                                                                                        D
                                  10016
                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.2 POINT ROLL, INC.             401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                                                                        D
                                  10016                                                          MANAGEMENT)
                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.3 SIZMEK DSP INC.              401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     CERBERUS BUSINESS FINANCE, LLC
                                                                                                                                                                        D
                                  10016

                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.4 SIZMEK DSP INC.              401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                                                                        D
                                  10016                                                          MANAGEMENT)
                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.5 SIZMEK INC.                  401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     CERBERUS BUSINESS FINANCE, LLC
                                                                                                                                                                        D
                                  10016
                                                                                                                                                                        E/F

                                                                                                                                                                        G
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2.6 SIZMEK INC.        401 PARK AVE., S., 5TH FLOOR, NEW YORK, NYPg   35 of 37 FINCO, LLC (VECTOR CAPITAL
                                                                         SIZMEK
                                                                                                                       D
                       10016                                              MANAGEMENT)
                                                                                                                       E/F

                                                                                                                       G



2.7 SIZMEK             401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         CERBERUS BUSINESS FINANCE, LLC
                                                                                                                       D
TECHNOLOGIES, INC.     10016
                                                                                                                       E/F

                                                                                                                       G



2.8 SIZMEK             401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                       D
TECHNOLOGIES, INC.     10016                                              MANAGEMENT)
                                                                                                                       E/F

                                                                                                                       G



2.9 SOLOMON            401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         CERBERUS BUSINESS FINANCE, LLC
                                                                                                                       D
ACQUISITION CORP.      10016
                                                                                                                       E/F

                                                                                                                       G



2.10 SOLOMON           401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                       D
ACQUISITION CORP.      10016                                              MANAGEMENT)
                                                                                                                       E/F

                                                                                                                       G



2.11 WIRELESS ARTIST   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         CERBERUS BUSINESS FINANCE, LLC
                                                                                                                       D
LLC                    10016
                                                                                                                       E/F

                                                                                                                       G



2.12 WIRELESS ARTIST   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                       D
LLC                    10016                                              MANAGEMENT)
                                                                                                                       E/F

                                                                                                                       G



2.13 X PLUS ONE        401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         CERBERUS BUSINESS FINANCE, LLC
                                                                                                                       D
SOLUTIONS, LLC         10016
                                                                                                                       E/F

                                                                                                                       G



2.14 X PLUS ONE        401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                       D
SOLUTIONS, LLC         10016                                              MANAGEMENT)
                                                                                                                       E/F

                                                                                                                       G
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2.15 X PLUS TWO   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NYPg   36 of 37 BUSINESS FINANCE, LLC
                                                                    CERBERUS
                                                                                                                 D
SOLUTIONS, LLC    10016
                                                                                                                 E/F

                                                                                                                 G



2.16 X PLUS TWO   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY        SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                 D
SOLUTIONS, LLC    10016                                             MANAGEMENT)
                                                                                                                 E/F

                                                                                                                 G
                 19-10971-smb                 Doc 131         Filed 04/27/19 Entered 04/27/19 00:35:59                                    Main Document
                                                                         Pg 37 of 37

  Fill in this information to identify the case:

  Debtor name: WirelessDeveloper, Inc.

  United States Bankruptcy for the District of: Southern New York
                                                                                                                                                            Check if this is an
  Case number: 19-10976
                                                                                                                                                            amended ling


O cial Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of assets and
 liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must state the individual’s
 position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
 case can result in nes up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

              Declaration and signature
  I am the president, another o cer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (O cial Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (O cial Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (O cial Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (O cial Form 206G)

       Schedule H: Codebtors (O cial Form 206G)

       Summary of Assets and Liabilities for Non-Individuals (O cial Form 206Sum)

        Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (O cial Form 204)

        Other document that requires a
   declaration

I declare under penalty of perjury that the foregoing is true and correct.

Executed on              04/26/2019                                                           /s/ SASCHA WITTLER
                                                                                             Signature of individual signing on behalf of debtor
                                                                                              SASCHA WITTLER
                                                                                             Printed name
                                                                                              CHIEF FINANCIAL OFFICER
                                                                                             Position or relationship to debtor
